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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS

    SANDRA D. OLIVER,

                Plaintiff,

                v.                                             Case No. 2:21-cv-02600-HLT-ADM

    UNIVERSITY OF KANSAS HOSPITAL
    AUTHORITY,

                Defendant.


                                                       ORDER

          Plaintiff Sandra D. Oliver filed this case pro se.1 After Plaintiff filed the case in December

2021, the clerk issued a summons for Defendant University of Kansas Hospital Authority, which

was returned to Plaintiff for service.2 After several months passed with no activity, the magistrate

judge ordered Plaintiff to show cause why the magistrate judge should not recommend dismissal

of her claims for failure to serve Defendant in accordance with Federal Rule of Civil Procedure

4(m). Doc. 5. Plaintiff was instructed to respond by April 29, 2022, but no response was filed.

          On May 4, 2022, the magistrate judge issued a Report and Recommendation (“R&R”)

recommending that the case be dismissed without prejudice in accordance with Rule 4(m). Doc.

6. The magistrate judge noted that Plaintiff had not demonstrated that either a mandatory or

permissive extension of the service deadline was warranted, that nothing in the record reflects any

attempt by Plaintiff to serve Defendant, and that Plaintiff has not taken any action in the case since

shortly after it was filed. Plaintiff was served with a copy of the R&R and told she had 14 days to


1
     Because Plaintiff proceeds pro se, her pleadings are construed liberally and held to a less stringent standard than
     pleadings drafted by lawyers, but the Court does not assume the role of advocate. See Hall v. Bellmon, 935 F.2d
     1106, 1110 (10th Cir. 1991).
2
     Although Plaintiff proceeds pro se, she does not proceed in forma pauperis.
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file written objections after being served with a copy of the R&R. Id. at 3. She was instructed that

if she fails to file timely objections, “no appellate review of the factual and legal determinations in

this Report and Recommendation will be allowed by any court.” Id. at 3-4. No written objections

have been filed, and Plaintiff has still not taken any action in this case.3

         Based on this, and based on Plaintiff’s failure to serve Defendant, the Court adopts the

recommendation of the magistrate judge and dismisses this case without prejudice in accordance

with Rule 4(m).

         THE COURT THEREFORE ORDERS that this case is DISMISSED WITHOUT

PREJUDICE for failure to serve Defendant. This case is closed.

         IT IS SO ORDERED.

         Dated: May 31, 2022                           /s/ Holly L. Teeter
                                                       HOLLY L. TEETER
                                                       UNITED STATES DISTRICT JUDGE




3
    The R&R was sent to Plaintiff by regular and certified mail on May 4, 2022. Doc. 6. The certified mail receipt was
    received by the clerk’s office on May 12, 2022. Doc. 7. The date of delivery is not entirely legible, but it appears
    to state “51022.” Plaintiff’s written objections were therefore due by May 24, 2022.




                                                           2
